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                               UNITED STATES BANKRUPTCY COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                       ORLANDO DIVISION

                                                               Case No.: 6:23-bk-03766-GER
                                                               Chapter 13

In re:
JOSHUA ELI CLAYTON,
            Debtor.
________________________________/

                                  AMENDED CHAPTER 13 PLAN
A.         NOTICES.

Debtor1 must check one box on each line to state whether or not the Plan includes each of
the following items. If an item is checked as “Not Included,” if both boxes are checked, or if
neither box is checked, the provision will be ineffective if set out later in the Plan.

     A limit on the amount of a secured claim based on a valuation which may result Included             Not Included
     in a partial payment or no payment at all to the secured creditor. See Sections
     C.5(d) and (e). A separate motion will be filed.                                                          X

     Avoidance of a judicial lien or nonpossessory, nonpurchase money security Included                  Not Included
     interest under 11 U.S.C. § 522(f). A separate motion will be filed. See Section
     C.5(e).                                                                                                   X

     Nonstandard provisions, set out in Section E.                                        Included       Not Included

                                                                                               X

     THIS AMENDED PLAN PROVIDES FOR PAYMENTS TO Included                                                 Not Included
     _________________________ TO BE INCLUDED IN PLAN PAYMENTS;
     THE AUTOMATIC STAY IS REINSTATED AS TO THIS CREDITOR.                                                     X


NOTICE TO DEBTOR: IF YOU ELECT TO MAKE DIRECT PAYMENTS TO A
SECURED CREDITOR UNDER SECTION C.5(i) OF THIS PLAN, TO SURRENDER
THE SECURED CREDITOR’S COLLATERAL UNDER SECTION C.5(j), TO NOT
MAKE PAYMENTS TO THE SECURED CREDITOR UNDER SECTION C.5(k), OR IF
PAYMENTS TO A SECURED CREDITOR ARE NOT SPECIFICALLY INCLUDED IN

1
    All references to “Debtor” include and refer to both of the debtors in a case filed jointly by two individuals.
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THE PLAN PAYMENTS, THE AUTOMATIC STAY DOES NOT APPLY, AND THE
CREDITOR MAY TAKE ACTION TO FORECLOSE OR REPOSSESS THE
COLLATERAL.

SECURED CREDITORS INCLUDE THE HOLDERS OF MORTGAGE LOANS, CAR
LOANS, AND OTHER LOANS FOR WHICH THE SECURED CREDITOR HAS A
SECURITY INTEREST IN PERSONAL OR REAL PROPERTY COLLATERAL.

B.     MONTHLY PLAN PAYMENTS. Plan payments include the Trustee’s fee of 10% and
       shall begin 30 days from petition filing/conversion date. Debtor shall make payments to
       the Trustee for the period of 60 months. If the Trustee does not retain the full 10%, any
       portion not retained will be disbursed to allowed claims receiving payments under the Plan
       and may cause an increased distribution to the unsecured class of creditors.

       $2,775.00 from month one through sixty (1-60).

C.     PROPOSED DISTRIBUTIONS.

       1.      ADMINISTRATIVE ATTORNEY’S FEES.

       Base Fee $4,500.00 Total Paid Prepetition $1,687.00       Balance Due $2,813.00


       Estimated Monitoring Fee at $50.00 per month for months seven through sixty

       Attorney’s Fees Payable Through Plan: See spreadsheet.

       2.      DOMESTIC SUPPORT OBLIGATIONS (as defined in 11 U.S.C. §101(14A).

 Acct. No.                       Creditor                        Total Claim Amount
 Not Applicable.



       3.      PRIORITY CLAIMS (as defined in 11 U.S.C. § 507).


 Last Four Digits of Acct. No.   Creditor                        Total Claim Amount


 Not Applicable.




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       4.       TRUSTEE FEES. From each payment received from Debtor, the Trustee shall
receive a fee, the percentage of which is fixed periodically by the United States Trustee.

       5.      SECURED CLAIMS. Pre-confirmation payments allocated to secured creditors
under the Plan, other than amounts allocated to cure arrearages, shall be deemed adequate
protection payments. The Trustee shall disburse adequate protection payments to secured
creditors prior to confirmation, as soon as practicable, if the Plan provides for payment to the
secured creditor, the secured creditor has filed a proof of claim or Debtor or Trustee has filed a
proof of claim for the secured creditor under § 501(c), and no objection to the claim is pending.
If Debtor’s payments under the Plan are timely paid, payments to secured creditors under the Plan
shall be deemed contractually paid on time.

        (a)  Claims Secured by Debtor’s Principal Residence that Debtor Intends to Retain
- Mortgage, HOA and Condo Association Payments, and Arrears, if any, Paid Through the
Plan under 11 U.S.C. § 1322(b)(5). Debtor will cure prepetition arrearages and maintain regular
monthly postpetition payments on the following claims secured by Debtor’s principal residence.
Under 11 U.S.C. § 1328(a)(1), Debtor will not receive a discharge of personal liability on these
claims.

Postpetition mortgage payments must be included in the Plan Payments. Mortgage payments are
due on the first payment due date after the case is filed and continue monthly thereafter. The
amount of postpetition mortgage payments may be adjusted as provided for under the loan
documents. Postpetition ongoing homeowner’s association and condominium association
assessments may be included in the Plan or may be paid direct. If Debtor intends to pay postpetition
assessments through the Plan, list the Regular Monthly Payment. If Debtor intends to pay
postpetition assessments direct, state “Direct” in the Regular Monthly Payment column.

 Last Four       Creditor         Collateral          Regular       Gap             Arrears
 Digits of                        Address             Monthly       Payment
 Acct. No.                                            Payment
 2830 (Claim     LoanDepot        12978               $1,836.38     $1,836.38(To    N/A
 9)                               Daughtery                         tal)
                                  Drive, Winter
                                  Park,     FL
                                  34787
 3366 (Claim     Resurgent        Fixtures on         $8,307.34     $8,307.34       N/A
 5)              Capital          12978               (total)       (total)
                 Services as      Daughtery
                 servicing        Drive Winter
                 agent for Best   Garden, FL
                 Egg; Original    34787-6523
                 Creditor:        Orange
                 Cross River      County

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               Bank      and
               ItSS
               SUCCESSO
               RS      AND
               ASSIGNS
               C/O Marlette
               Servicing,
               LLC

                               12978               $0.00       (per   N/A           N/A
               Unison
2013 (Claim                    Daughtery
               Midgard
18)                            Drive, Winter       contract)
               Holdings,
                               Park,     FL
               LLC
                               34787

     (b)    Claims Secured by Other Real Property Which Debtor Intends to Retain -
     Mortgage Payments, HOA and Condominium Association Payments, and Arrears, if
     any, Paid Through the Plan under 11 U.S.C. § 1322(b)(5). Debtor will cure prepetition
     arrearages and maintain regular monthly postpetition payments on the following claims
     secured by Debtor’s real property. Under 11 U.S.C. § 1328(a)(1), Debtor will not receive a
     discharge of personal liability on these claims.

     Postpetition mortgage payments must be included in the Plan Payments. Mortgage
     payments are due on the first payment due date after the case is filed and continue monthly
     thereafter. The amount of postpetition mortgage payments may be adjusted as provided for
     under the loan documents. Postpetition ongoing homeowner’s association and
     condominium association assessments may be included in the Plan or may be paid direct.
     If Debtor intends to pay postpetition assessments through the Plan, list the Regular Monthly
     Payment. If Debtor intends to pay postpetition assessments direct, state “Direct” in the
     Regular Monthly Payment column.

Last Four      Creditor        Collateral          Regular            Gap           Arrears
Digits of                      Address             Monthly            Payment
Acct. No.                                          Payment
Not
Applicable.




     (c)    Claims Secured by Real Property - Debtor Seeks Mortgage Modification
     Mediation (MMM). No later than 90 days from the petition date or the date the case
     converts to Chapter 13, Debtor shall file a motion seeking MMM. Information and
     forms related to MMM are available in the Court’s procedure manual on the Court’s

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     website, www.flmb.uscourts.gov. Pending the resolution of the MMM, the Plan Payments
     shall include the following adequate protection payments to the Trustee: (1) for homestead
     property, the lesser of 31% of gross monthly income of Debtor and non-filing spouse, if
     any (after deducting homeowner’s association fees), or the normal monthly contractual
     mortgage payment; or (2) for non-homestead, income-producing property, 75% of the
     gross rental income generated from the property. If Debtor obtains a modification of the
     mortgage, the modified payments shall be included in the Plan Payments. Debtor will not
     receive a discharge of personal liability on these claims.

Last Four Digits     Creditor                      Collateral Address     Adequate
of Acct. No.                                                              Protection Payment
Not Applicable.



     (d)    Claims Secured by Real Property or Personal Property to Which Section 506
     Valuation APPLIES (Strip Down). Under 11 U.S.C. § 1322 (b)(2), this provision does
     not apply to a claim secured solely by Debtor’s principal residence. A separate motion to
     determine secured status or to value the collateral must be filed. Payment on the
     secured portion of the claim, estimated below, is included in the Plan Payments. Unless
     otherwise stated in Section E, the Plan Payments do not include payments for escrowed
     property taxes or insurance.

Last Four    Creditor       Collateral      Claim        Value          Payment   Interest
Digits of                   Description/    Amount                      Through   Rate
Acct. No.                   Address                                     Plan
Not
Applicable
.



     (e)    Liens to be Avoided Under 11 U.S.C. § 522 or Stripped Off Under 11 U.S.C.
     § 506. Debtor must file a separate motion under § 522 to avoid a judicial lien or a
     nonpossessory, nonpurchase money security interest because it impairs an exemption or
     under § 506 to determine secured status and to strip a lien.

Last Four Digits of Acct.       Creditor                         Collateral Description /
No.                                                              Address
Not Applicable.


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      (f)     Payments on Claims Secured by Real Property and/or Personal Property to
      Which Section 506 Valuation DOES NOT APPLY Under the Final Paragraph in 11
      U.S.C. § 1325(a). The claims listed below were either: (1) incurred within 910 days before
      the petition date and secured by a purchase money security interest in a motor vehicle
      acquired for Debtor’s personal use; or (2) incurred within one year of the petition date and
      secured by a purchase money security interest in any other thing of value. These claims
      will be paid in full under the Plan with interest at the rate stated below.

Last Four         Creditor       Collateral         Claim         Payment          Interest
Digits of                        Description/       Amount        Through          Rate
Acct. No.                        Address                          Plan
Not
Applicable.



      (g)    Claims Secured by Real or Personal Property to be Paid with Interest Through
      the Plan under 11 U.S.C. § 1322(b)(2). The following secured claims will be paid in full
      under the Plan with interest at the rate stated below.

Last Four         Creditor       Collateral         Claim         Payment          Interest
Digits of                        Description/       Amount        Through          Rate
Acct. No.                        Address                          Plan
Not
Applicable.



      (h)     Claims Secured by Personal Property – Maintaining Regular Payments and
      Curing Arrearage, if any, under 11 U.S.C. § 1322(b)(5). Under 11 § 1328(a)(1), unless
      the principal amount of the claim is paid in full through the Plan, Debtor will not receive a
      discharge of personal liability on these claims.

Last Four           Creditor           Collateral            Regular            Arrearage
Digits of Acct.                        Description           Contractual
No.                                                          Payment
Not Applicable.




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      (i)     Secured Claims Paid Directly by Debtor. The following secured claims are being
      made via automatic debit/draft from Debtor’s depository account and are to continue to be
      paid directly to the creditor or lessor by Debtor outside the Plan via automatic debit/draft.
      The automatic stay is terminated in rem as to Debtor and in rem and in personam as to any
      codebtor as to these creditors and lessors upon the filing of this Plan. Nothing herein is
      intended to terminate or abrogate Debtor’s state law contract rights. Because these secured
      claims are not provided for under the Plan, under 11 § 1328(a), Debtor will not receive a
      discharge of personal liability on these claims.

Last Four Digits of Acct.        Creditor                         Property/Collateral
No.
Not Applicable.



      (j)     Surrender of Collateral/Property that Secures a Claim. Debtor will surrender the
      following collateral/property. The automatic stay under 11 U.S.C. §§ 362(a) and 1301(a)
      is terminated in rem as to Debtor and in rem and in personam as to any codebtor as to these
      creditors upon the filing of this Plan.

Last Four Digits of Acct.        Creditor                         Collateral/Property
No.                                                               Description/Address
Not Applicable.



      (k)    Secured Claims That Debtor Does Not Intend to Pay. Debtor does not intend to
      make payments to the following secured creditors. The automatic stay under 11 U.S.C. §§
      362(a) and 1301(a) is terminated in rem as to Debtor and in rem and in personam as to any
      codebtor with respect to these creditors upon the filing of this Plan. Debtor’s state law
      contract rights and defenses are neither terminated nor abrogated. Because these secured
      claims are not provided for under the Plan, under 11 § 1328(a), Debtor will not receive a
      discharge of personal liability on these claims.

Last Four Digits of Acct.        Creditor                         Collateral
No.                                                               Description/Address
Not Applicable.



      6.     LEASES / EXECUTORY CONTRACTS. As and for adequate protection, the
Trustee shall disburse payments to creditors under leases or executory contracts prior to
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confirmation, as soon as practicable, if the Plan provides for payment to creditor/lessor, the
creditor/lessor has filed a proof of claim or Debtor or Trustee has filed a proof of claim for the
secured creditor/lessor under § 501(c), and no objection to the claim is pending. If Debtor’s
payments under the Plan are timely paid, payments to creditors/lessors under the Plan shall be
deemed contractually paid on time.

      (a)     Assumption of Leases/Executory Contracts for Real or Personal Property to
      be Paid and Arrearages Cured Through the Plan. Debtor assumes the following
      leases/executory contracts and proposes the prompt cure of any prepetition arrearage as
      follows. Under 11 § 1328(a)(1), if the claim of the lessor/creditor is not paid in full, Debtor
      will not receive a discharge of personal liability on these claims.

Last Four          Creditor/Lessor      Description of       Regular             Arrearage and
Digits of Acct.                         Leased               Contractual         Proposed Cure
No.                                     Property             Payment
Not Applicable.



      (b)     Assumption of Leases/Executory Contracts for Real or Personal Property to
      be Paid Directly by Debtor. Debtor assumes the following lease/executory contract
      claims that are paid via automatic debit/draft from Debtor’s depository account and are to
      continue to be paid directly to the creditor or lessor by Debtor outside the Plan via
      automatic debit/draft. The automatic stay is terminated in rem as to Debtor and in rem and
      in personam as to any codebtor as to these creditors and lessors upon the filing of this Plan.
      Nothing herein is intended to terminate or abrogate Debtor’s state law contract rights.
      Because these leases/executory contracts are not provided for under the Plan, under 11 §
      1328(a), Debtor will not receive a discharge of personal liability on these claims.

Last Four Digits of Acct.        Creditor/Lessor                   Property/Collateral
No.
Not Applicable.



      (c)     Rejection of Leases/Executory Contracts and Surrender of Real or Personal
      Leased Property. Debtor rejects the following leases/executory contracts and will
      surrender the following leased real or personal property. The automatic stay under 11
      U.S.C. §§ 362(a) and 1301(a) is terminated in rem as to Debtor and in rem and in personam
      as to any codebtor as to these creditors and lessors upon the filing of this Plan.

Last Four Digits of Acct.        Creditor/Lessor                   Property/Collateral to be

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 No.                                                                 Surrendered
 Not Applicable.




        7.     GENERAL UNSECURED CREDITORS. General unsecured creditors with
allowed claims shall receive a pro rata share of the balance of any funds remaining after payments
to the above referenced creditors or shall otherwise be paid under a subsequent Order Confirming
Plan. The estimated dividend to unsecured creditors shall be no less than $24,010.48.

D.     GENERAL PLAN PROVISIONS:

       1.      Secured creditors, whether or not dealt with under the Plan, shall retain the liens
               securing such claims.

       2.      Payments made to any creditor shall be based upon the amount set forth in the
               creditor’s proof of claim or other amount as allowed by an Order of the Bankruptcy
               Court.

       3.      If Debtor fails to check (a) or (b) below, or if Debtor checks both (a) and (b),
               property of the estate shall not vest in Debtor until the earlier of Debtor’s discharge
               or dismissal of this case, unless the Court orders otherwise. Property of the estate

               (a)    X      shall not vest in Debtor until the earlier of Debtor’s discharge or
               dismissal of this case, unless the Court orders otherwise, or

               (b) _______ shall vest in Debtor upon confirmation of the Plan.

       4.      The amounts listed for claims in this Plan are based upon Debtor’s best estimate
               and belief and/or the proofs of claim as filed and allowed. Unless otherwise ordered
               by the Court, the Trustee shall only pay creditors with filed and allowed proofs of
               claim. An allowed proof of claim will control, unless the Court orders otherwise.

       5.      Debtor may attach a summary or spreadsheet to provide an estimate of anticipated
               distributions. The actual distributions may vary. If the summary or spreadsheet
               conflicts with this Plan, the provisions of the Plan control prior to confirmation,
               after which time the Order Confirming Plan shall control.

       6.      Debtor shall timely file all tax returns and make all tax payments and deposits when
               due. (However, if Debtor is not required to file tax returns, Debtor shall provide the
               Trustee with a statement to that effect.) For each tax return that becomes due after
               the case is filed, Debtor shall provide a complete copy of the tax return, including
               business returns if Debtor owns a business, together with all related W-2s and Form
               1099s, to the Trustee within 14 days of filing the return. Unless otherwise ordered,
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            consented to by the Trustee, or ordered by the Court, Debtor shall turn over to the
            Trustee all tax refunds in addition to regular Plan payments. Debtor shall not
            instruct the Internal Revenue Service or other taxing

            agency to apply a refund to the following year’s tax liability. Debtor shall not
            spend any tax refund without first having obtained the Trustee’s consent or
            Court approval.

E.   NONSTANDARD PROVISIONS as Defined in Federal Rule of Bankruptcy
     Procedure 3015(c). Note: Any nonstandard provisions of this Plan other than those set out
     in this section are deemed void and are stricken.

        1. Student Loans:

            a. If the Debtor has filed a Notice of Participation in Student Loan Program, the
               Debtor’s Federal Student loans which are separately classified shall be paid
               according to the Court’s student loan program.
            b. This Plan does not provide for any discharge, in whole or in part, of student
               loan obligations under 11 U.S.C. §523(a)(8). If Debtor intends to seek the
               discharge of a student loan obligation, Debtor must file a separate adversary
               proceeding requesting such relief from the Court.
            c. Debtor may seek enrollment in any IDR Plan for which Debtor is eligible
               without further Order of the Court.
            d. The plan shall specifically state the amount of the Debtor’s monthly IDR plan
               payment and the day each payment is due.
            e. Debtor’s IDR Payments to the Trustee shall constitute payments to the Creditor
               for purposes of eligibility of forgiveness under any existing federal programs.
            f. Debtor understands that Creditor is not required to allow enrollment in any IDR
               Plan unless Debtor otherwise qualifies for such plan.
            g. Debtor agrees to recertify eligibility in the applicable IDR Plan annually or as
               otherwise required and shall, within 30 days following Creditor’s determination
               of change in the IDR Payment, Debtor shall file a notice with the Court of the
               amount such payment. The procedures set forth in Paragraph 12 of the Court’s
               Administrative Order Prescribing Procedures for Student Loan Management
               Program in all Bankruptcy Cases Effective February 2, 2022 apply to
               Recertification.
            h. It shall not be a violation of the automatic stay or other state or federal laws for
               Creditor to send Debtor normal monthly statements regarding IDR Payments
               due and any other communications including, without limitation, notices of late
               payments or delinquency. These communications may expressly include
               telephone calls and emails if Debtor has agreed to electronic communications
               under normal processes established by Creditor.
            i. The unpaid student loans are not discharged upon completion of the plan
               payments.


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              j. The plan shall identify each one of the student loans by name of creditor and
                 account number.
              k. The plan asserts as true that the Debtor is not in default on Federal Student Loan
                 debts.
              l. A modified plan shall be filled if the Debtor exits the IDR plan voluntarily
                 and/or to provide for any increase due to recertification during the plan term.

          2. All secured debts that are provided for in the plan shall be construed to be current
             or paid in full upon completion of the plan.

          3. If the Debtor pays a secured debt through the Plan, the phrase: “Debtor will not
             receive a discharge of personal liability on these claims” (the “Phrase”) refers only
             to liability on that secured debt that accrues or arises after completion of the plan
             on debts that survive the plan or to a debt that is otherwise non-dischargeable under
             the bankruptcy code. The Phrase shall not be construed to mean that the Debtor
             retains any liability on that secured debt regarding any dispute that arose or could
             have arisen between the Debtor and any creditor during the pendency of the plan
             once the discharge is entered.

          4. Nothing herein shall abrogate Debtor's state law contract rights.

                                      CERTIFICATION

       By filing this document, the Attorney for Debtor, or Debtor, if not represented by an
attorney, certifies that the wording and order of the provisions in this Chapter 13 Plan are
identical to those contained in the Model Plan adopted by this Court, and that this Plan
contains no additional or deleted wording or nonstandard provisions other than any
nonstandard provisions included in Section E.

Dated: December 7, 2023

                                                    /s/ Joshua Eli Clayton
                                                    Joshua Eli Clayton
                                                    Debtor


                                                    Respectfully submitted,
                                                    TEJES LAW, PLLC




                                                    /s/ Kateryna V. McCaleb
                                                    Kateryna V. McCaleb
                                                    Attorney for Debtor(s)
                                                    Florida Bar Number 1028049
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